                                                                                                     Case 2:20-cv-01595-SPL Document 12 Filed 09/01/20 Page 1 of 2



                                                                                              1   Jason Barrat; AZ Bar No. 029086
                                                                                                  Michael Zoldan; AZ Bar No. 028128
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                                                                                                  ZOLDAN LAW GROUP, PLLC
                                                                                              3   14500 N. Northsight Blvd., Suite 133
                                                                                                  Scottsdale, AZ 85260
                                                                                              4   Tel & Fax: 480.442.3410
                                                                                              5   jbarrat@zoldangroup.com
                                                                                                  jmiller@zoldangroup.com
                                                                                              6
                                                                                                  Attorneys for Plaintiff
                                                                                              7
                                                                                                  Noel Hendrix
                                                                                              8
                                                                                                                            UNITED STATES DISTRICT COURT
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                                                                                             10                                     DISTRICT OF ARIZONA

                                                                                             11   Noel Hendrix,                                      Case No. CV-20-01595-SPL
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12                        Plaintiff,
                                                                                             13                                                   NOTICE OF FILING FIRST
                                                                                                         v.                                    AMENDED VERIFIED COMPLAINT
                                                                                             14
                                                                                                  Chipotle Mexican Grill, Inc., a Delaware
                                                                                             15   Corporation,                                 (Assigned to the Hon. Steven P. Logan)
                                                                                             16
                                                                                                                       Defendant.
                                                                                             17
                                                                                             18
                                                                                             19           Notice is hereby given that on September 1, 2020, Plaintiff, by and through

                                                                                             20   undersigned counsel, filed her First Amended Verified Complaint. Attached is the First
                                                                                             21
                                                                                                  Amended Verified Complaint with strikethroughs indicating deletion and underlining
                                                                                             22
                                                                                                  indicating additions.
                                                                                             23
                                                                                             24          RESPECTFULLY SUBMITTED September 1, 2020.

                                                                                             25                                             ZOLDAN LAW GROUP, PLLC
                                                                                             26                                         By: /s/ Michael Zoldan
                                                                                             27                                              14500 N. Northsight Blvd, Suite 133
                                                                                                                                             Scottsdale, AZ 85260
                                                                                             28                                              Attorneys for Plaintiff
                                                                                                    Case 2:20-cv-01595-SPL Document 12 Filed 09/01/20 Page 2 of 2



                                                                                              1                               CERTIFICATE OF SERVICE
                                                                                              2
                                                                                                  I hereby certify that on September 1, 2020, I electronically transmitted the foregoing
                                                                                              3   document to the United States District Court, District of Arizona, Court Clerk, using the
                                                                                                  CM/ECF System. All counsel of record are registrants and are therefore served via this
                                                                                              4   filing and transmittal.
                                                                                              5
                                                                                                  /s/ Ashley Peschke
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ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




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                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




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